Case 1:23-cv-00108-LMB-JFA Document 69 Filed 03/24/23 Page 1 of 2 PageID# 426




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA                                           'nV
                                       Alexandria Division

                                                                                      MAR 2 4 2D23
UNITED STATES OF AMERICA,et ai.                                                   i                   i. J
                      Plaintiffs,

       V.                                         Civil Action No. I:23cv0108(LMB/JFA)

GOOGLE LLC,

                      Defendant.



                                            ORDER


       This matter is before the court on the parties' joint motion for entry of discovery schedule

and extension of deadlines for response to complaint. (Docket no. 63). Having considered the

deadlines proposed in the parties' motion and the representations of counsel at the hearing on

Friday, March 24, 2023, it is hereby

       ORDERED that the parties' motion is granted in part and denied in part. The following

deadlines shall govern discovery in this case:

                March 27, 2023                                 Discovery commences

                March 28,2023                        Parties submit their joint discovery plan
                  April 3, 2023                           Parties' initial disclosures due
                                                       Substantial completion of document
                  July 7,2023
                                                                    production
               September 8, 2023                              Fact discovery concludes

               October 13, 2023                               Initial expert reports due
              November 17, 2023                              Opposing expert reports due
               December 6, 2023                              Rebuttal expert reports due
                January 12, 2024                             Expert discovery concludes
                January 18, 2024                    Pretrial conference before Judge Brinkema
Case 1:23-cv-00108-LMB-JFA Document 69 Filed 03/24/23 Page 2 of 2 PageID# 427




It is further


        ORDERED that counsel appear for a hearing before the undersigned on Friday, March

31, 2023, at 10:00 a.m.

        Entered this 24th day of March, 2023.
                                                                /s/.
                                                   John F. Anderson

                                                  lonn t. Andersoi
                                                  United States Magistrate Judge
Alexandria, Virginia
